
490 So.2d 165 (1986)
James A. BOCKOVER and Marilyn R. Bockover, His Wife, Appellants,
v.
SIGNATURE REALTY OF ST. PETERSBURG, INC., a Florida Corporation, Signature, Inc., a Dissolved Florida Corporation, Park Bank of Florida, a Florida Banking Corporation, and Best Business Brokers, Inc., a Florida Corporation, Appellees.
No. 85-2459.
District Court of Appeal of Florida, Second District.
June 18, 1986.
*166 Dominic E. Amadio of Law Offices of Dominic E. Amadio, St. Petersburg, for appellants.
L. Geoffrey Young of Robbins, Gaynor, Burton, Hampp, Burns, Bronstein &amp; Shasteen, P.A., St. Petersburg, for appellees Park Bank of Florida.
CAMPBELL, Judge.
Appellants appeal a final judgment in this case involving an agreement for deed. Appellee/cross-appellant Park Bank of Florida cross-appeals an order entered subsequent to the final judgment which order disposed of rent receipts held in escrow. We reverse and remand on appellants/cross-appellees' appeal from the final judgment and affirm on the cross-appeal of Park Bank. Appellee/cross-appellant Park Bank was the only appellee responding to this appeal.
Appellants and appellee Signature, Inc. entered into an agreement for deed on January 1, 1980, wherein appellants were the vendors and appellee Signature, Inc. was the vendee. Signature, Inc. subsequently assigned its interest in the agreement for deed to Signature Realty of St. Petersburg, Inc. The vendees defaulted under the terms of the agreement by failing to make payments when due. Appellants elected, pursuant to the terms of the agreement, to accelerate the entire balance due and brought their action below seeking foreclosure of the agreement for deed. The trial court determined that the appellee vendees had defaulted and found appellants entitled to the entire balance due, but rather than ordering foreclosure of the security of the agreement, entered final judgment for the balance due together with interests, costs and attorney's fees.
Appellants cite as error the failure of the trial court to order foreclosure of the security of the agreement for deed. Appellants are correct and the court below erred in failing to order foreclosure. Ernest v. Carter, 368 So.2d 428 (Fla. 2d DCA 1979); Adkinson v. Nyberg, 344 So.2d 614 (Fla. 2d DCA 1977). The agreement for deed involved in this proceeding provided for an acceleration of the debt at the option of the vendors in the event of a default in payments as did the agreement in Ernest.
On remand, the trial court shall follow the instructions of Ernest and Adkinson in ordering foreclosure of the security of the agreement for deed for the entire amount of the balance due under the agreement as accelerated.
Reversed on appeal, affirmed on cross-appeal.
RYDER, C.J., and SCHEB, J., concur.
